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     1.0 BACKGROUND

     Blount Construction Company, Inc. (Blount) operates an asphalt plant located at 911 Canton
     Highway, Cumming, Georgia in Forsyth County, Georgia. The City of Cumming (City) owns a
     property located at 921 Canton Highway on the north side of Blount’s property along a narrow,
     northeasterly-southwesterly oriented ridgeline (Sawnee Mountain - USGS Cumming Quadrangle,
     Georgia 7.5 Minute, 1999)). The City operates two large water supply tanks reportedly 500,000 and
     800,000 gallon capacity on top of the ridge just on the north side of Blount’s property boundary. An
     approximately 8” diameter Ductile Iron Pipe (DIP) water main serving the two tanks running along the
     north side of the City’s and Blount’s property boundary at the top of the hill side along the slope crest.
     A slope failure reportedly occurred sometime during the night of December 6, 2022 at the Blount’s
     property. A total of 2.13 inches of rainfall was reported by a nearby weather station on December 6,
     2022. Approximately 1.3 million gallons of potable water were released over night from the two City
     water storage tanks impacting Blount’s property and asphalt plant operations. The location of the City
     tanks, approximate location of the water main and extent of the slope failure sliding mass on Blount’s
     asphalt plant property is shown in Figure 1. Pre-failure 2015 GIS topography obtained from Forsyth
     County GIS Department is shown on Figure 2. A pipe joint of the watermain was reportedly described
     located within the section of pipe that failed.

     The property line along the south side of the tanks is approximately 15 to 20 feet from the edge of the
     tanks, and about 10 feet south from the south slope crest (along the existing security fence). Prior to
     the slope failure, the watermain feeding the tanks was located about 10 feet north of the property line
     with a section of the watermain running within the slope of the slide area (below the crest of the slope)
     based on 2015 GIS Forsyth County topography, and photos and videos taken by Geosystems and
     City staff.

     The release of water from the tanks and slope failure sliding mass impacted approximately 0.4 acres
     of pine tree forested land on the hill side, plant operations paved area and operations access,
     damaged an office trailer, flooded two equipment storage containers, impacted on-site access roads
     to Ponds No. 1, 2 and 3, and discharged washed sediment into Ponds No. 1, 2 and 3 documented
     during RIO’s Site Visits on March 28 and May 8, 2023. As of May 8, 2023 (last site visit by Mr. Rafael
     Ospina with RIO), the plant normal operations were still shut down.

     RIO GeoEngineering, LLC (RIO) was retained by Chalmers, Adams, Backer & Kaufman, LLC (CABK)
     on behalf of Blount to review available project documents, perform site visits on March 28, 2023 and
     May 8, 2023, perform preliminary stability analysis, and prepare this Preliminary Engineering
     Assessment Report.

     1.1 City Slope Failure Initial Response and Evaluation

     The City retained GeoSystems Engineering, Inc (GeoSystems) in December 2022 to visit the site and
     provide an initial assessment of the slope failure, an initial Letter of the initial assessment was issued
     by GeoSystems on December 12, 2022. GeoSystems visited the site on December 8 and 9 and met
     on December 9 with GeoStabilization International (GSI), a geotechnical contractor specializing in
     slope stabilization, to observe site conditions and discuss possible stabilization methods for repair of
     the slope. Based on visual observations during the initial assessment, GeoSystems determined that
     there was no risk of slope failure extending towards the eastern most tank in the near future, and that
     even though there was some evidence of previous movement and instability of the south slope along


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     the tanks pad, there were not “recent” signs of slope movement and tension cracks. Geosystems
     recommended a further slope stability analysis to evaluate the long-term stability of the entire south
     slope, and perform a geotechnical exploration to provide soil strength parameters for slope area
     stabilization design being prepared by GSI design/build contractor.

     1.2 GeoSystems Geotechnical Exploration and Stability Analysis

     Following the initial assessment, GeoSystems completed a geotechnical exploration, laboratory
     testing, geophysical investigation and slope stability analysis to assess the long-term slope stability
     at the site and provide permanent repair recommendations for the failed slope. The results of the
     geotechnical exploration and slope stability analysis were documented in a final Geotechnical
     Assessment Report dated April 5, 2023. GeoSystems retained Collier Geophysics, LLC (Collier) to
     perform the geophysical survey lines to characterize subsurface conditions along the slope. Collier
     issued a report dated March 17, 2023 included as attachment to the Geosytems Geotechnical
     Assessment Report. Civil Engineering Consultants (CEC) retained by GSI provided a topographic
     survey of the slide area and adjacent east and west slopes based on a combination of drone fly over
     topography and ground run survey completed for the slope west of the slide area. Laboratory testing
     was completed on samples collected from SPT soil borings completed within the tanks pad area, with
     only two of the SPT borings complete near the crest of the slide area. Hand auger borings without
     dynamic cone penetration testing were completed along the slope west of the slide area along with
     the geophysical survey lines. Kilman Brothers Drilling was retained by GeoSystems to complete the
     geotechnical SPT borings. Drilling of SPT Borings was completed during December 28 and 29, 2022,
     hand auger borings were completed on February 3, 2023, and the geophysical survey by Collier was
     completed on March 8, 2023.

     1.3 GeoStabilization International (GSI) Soil Nail Wall Design/Build

     GSI was retained by the City to provide design/build services for the stabilization of the upper part of
     the slope so the City could refill the tanks. The design and repair consisted of a Soil Nail Wall 10 feet
     high and approximately 100 feet long. Soil nails were designed to be installed in a triangular pattern
     spaced about 5 feet apart. The soil nails were designed to be installed in two rows along the wall and
     extend up to 28 feet (top row) and up to 18 feet (lower row), with horizontal drains up to 20 feet in
     length installed at 10-foot center to center. The face of the wall was designed to be covered with 8 to
     10 inches of shotcrete depending on the location of the wall. GSI started wall construction activities
     the week of December 19, 2022, and was completed about January 17, 2023. No construction
     records were available for review and preparation of this report.

     Geosystems has performed periodic slope stability site inspections since the construction of the Soil
     Nail Wall and no issues of concern have been identified since their initial site visit after the
     construction of the wall on January 25, 2023 until the preparation of their submittal of their final
     Geotechnical Assessment Report dated April 5, 2023.

     1.4 Review Documents - Preliminary Engineering Evaluation

     RIO’s preliminary evaluation is based on a review of the following information provided by Chalmers,
     Adams, Backer & Kaufman, LLC:




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     Documents Released by City’s Counsel:

          1) Phone Video by City Staff – File Name: SM Video 1, dated December 7, 2022.
          2) “Preliminary Geotechnical Assessment Report” prepared by Geosystems Engineering, Inc.,
             dated December 12, 2022.
          3) “Slope Stabilization Plans (Issued for Construction)” prepared by GeoStabilization, Inc. (GSI),
             dated December 16, 2022.
          4) “The EDR Aerial Photo Decade Package” prepared by Environmental Data Resources, Inc.
             (EDR), dated December 21, 2022.
          5) “The EDR-City Directory Image Report” prepared by Environmental Data Resources, Inc.
             (EDR), dated December 23, 2022.
          6) Drone Video by City Staff – File Name: DJI_0013, dated February 2022.
          7) “Sawnee Tank Emergency Repair Topographic Exhibit” by Civil Engineering Consultants, Inc.,
               dated February 24, 2023. (West Slope Ground Run Topo).
          8) “Geophysical Letter Report” by Collier Geophysics, LLC, dated March 17, 2023.
          9)    “Preliminary Geotechnical Assessment Report” prepared by Geosystems Engineering, Inc.,
               dated April 5, 2023.
          10) City Tax Map Image Tax Parcel 125 029 – File Name: Sawnee Mountain Tank Feed Line
               Leak – Tax.pdf (showing location of water main), No Date.


     Documents Released by Blount’s Counsel (CABK):

          1) Drone Site Photos (Pre-Failure) by Blount Construction, date March 12, 2021.
          2) Drone Site Photos (Pre-Failure) by Blount Construction, dated April 2022.
          3) Pond No. 3 Site Photos (Pre-Failure) by Blount Construction, dated March 2022.
          4) Ponds No. 1 and 2 Site Phots (Pre-Failure) by Blount Construction, dated May 2022.
          5) Visual Assessment Form – Storm Water Outfall SW-01, SW-02 and SW-03 by Blount
             Construction, dated December 6, 2022 (observation at 9:00 am) (1.5” rain reported)
          6) Site Safety Inspection Report (Post-Failure) by Blount Construction, dated December 14,
             2022
          7) “Boundary & Topographic Survey” by IronStone Surveying, dated May 23, 2023 (Field survey
             on May 8, 2023).


     Additional Information Reviewed by RIO:
          1) Historic Rainfall Data - NCEI/NOAA Station: CUMMING 2 N, GA US USC00092408 –
                 https://www.ncei.noaa.gov/access/past-weather/Cumming%2C Georgia




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          2) PGA Earthquake Motion Parameter for 2% Probability in 50 years - ASCE 7-22 Seismic Tools
             Site
                 https://asce7hazardtool.online/


     2.0 ENGINEERING EVALUATION

     RIO reviewed a number of documents listed under Section1.4 above. RIO also performed preliminary
     slope stability analysis of the slide area to help determine the potential causes of slope failure at the
     Blount’s Asphalt Plant. The sections below provide observations made during the review of the
     information provided, describe areas impacted by the slope failure, and discuss potential causes of
     the slope failure.

     2.1 March 28, 2023 Site Visit

     RIO performed an initial site visit on March 28, 2023 in coordination with Blount’s Legal Counsel
     (CABK). A photographic record of the site visit is provided in Appendix A (Photos 01 to 49). Below
     is a summary of main observations by area made during the site visit:

     Plant Area:

       - A significant amount of sediment came down from the slide area covering and blocking access
         for Plan normal Operations. The Plan was shut down during the site visit (see Photos 01 and 02).

       - The site Office Trailer was damaged by slide material that came down and pushed the trailer out
         of its place. Pine trees penetrated through the trailer walls completely damaging the trailer,
         including a compressed gas tank on the outside within the limits of the slide debris (see Photos
         03 to 10).

       - Two equipment storage trailer containers were flooded with sediment and water from the slide
         area damaging equipment and supplies stored in the trailers (see photos 13 and 14 showing the
         trailers in the background on the right side of the slide area (looking downstream from the top of
         the slide area) of the slide area) (Appendix B provides additional photos obtained during the May,
         8, 2023 site visit).

      South Slope Slide Area:

       - A large volume of material came down the hill from the slide area impacting pre-existing pine trees
         (about 0.4 acres of land) forestation and sending mud and slide debris downstream over the plant
         pavement area and into existing Ponds No. 1, 2 and 3 (see Photos 11 through 14).




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     Ponds No. 1, No. 2 and No.3:

       - Sediment from the slide area washed down the stream together with the 1.3 million gallons of
         water discharged from the two City water storage tanks. Sediment was carried into Ponds No. 1,
         No. 2, and No. 3 impacting their storage capacity (see Photos No. 15 through 26 to see impacts).

       - Discharge from Pond No. 2 through the Outfall SW-01 culvert and overtopping over the access
         driveway to Pond No. 3 washed the road surface base material away (already repaired during the
         site visit per account by Plant Operations Manager) and continued downstream washing and
         eroding the access road surface pavement and cutting deep channels along the roadway (see
         Photos 27 through 39).

       - Sediment was discharged into Pond No. 3 impacting the capacity of the Pond. No discharge of
         sediment was noted downstream from Outfall SW-2 into the adjacent property, and the top of the
         dam crest of Pond No. was not impacted (see Photos 40 through 49).

     2.2 May 8, 2023 Site Visit

     RIO performed a second site visit on May 8, 2023, also in coordination with Blount’s Legal Counsel
     (CABK). City’s Insurance Company Counsel and Insurance Company Expert were also present
     during the site visit. A photographic record of the site visit is provided in Appendix B (Photos 01 to
     68). Below is a summary of main observations by area made during the site visit:

     Tanks South Slopes & Slide Area:

       - During this site visit, the slopes west and right of the slide area, as well as the top of the slide area
         were visited to evaluate the current conditions. Asphalt millings/waste was noted on the surface
         of the slide area debris indicating the presence of some fill over the slide area (see Photos 01
         through 03).

       - The driveway to the tanks on top of the hill has been restored with gravel as part of the repairs
         completed for stabilization of the top of the slide area. Rock outcrops were noted near the crest
         of the slope left of the slide area also showing very steep slopes, the angle of the upper slope
         was measured in the field and was at 42 degrees, or 1.1H:1V. The slope left of the slide area
         (looking down from the top of the slope) looked stable, with no evidence of active ground
         movement/sloughs or tension cracks (see Photos 04 through 06).

       - A 10-foot-high soil nail wall was noted at the top of the slope in the slide area. Drain holes could
         be observed through the wall at about 10-foot apart per design plans prepared by GSI. The
         shotcrete on the wall surface looked reasonably placed with an even surface. No leakage of
         water through the drain pipes or wet surface on the wall of concern were noted during the site
         visit. The top of the wall was leveled with the driveway level (see Photos 07 through 12).

       - The surface of the slide area up on top of the current slope showed exposed stable dense to very
         dense soils (slip surface), all the material above it was washed away downstream with the slide.



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          The exposed material above the slip surface on the slope left of the slide area shows
          approximately 8 to 10 feet of material over the slide slip surface. A thin layer (12 inches or so) of
          asphalt millings/waste fill could be observed on the surface of the slope (see Photos 13 through
          19)

       - The plant office trailer was damaged by slide material that came down and pushed the trailer out
         of its place. Pine trees penetrated through the trailer walls completely damaging the trailer,
         including a compressed gas tank on the outside within the limits of the slide debris (see Photos
         03 to 10).

      Slope Right of Slide Area:

       - A number of Cast Iron Pipe (CIP) driven piles 8 inches in diameter were noted to be installed
         along the lower topographic bench on the south slope below the tank pads. A 12-inch steel I-
         beam was also noted to be driven just below the crest of the second topographic bench above
         the area where the CIP driven piles were noted. These piles appear to have been installed in the
         past (prior to Blount’s acquiring the property per account by Plants’ Maintenance Manager) to
         stabilize an old slide located within the lower part of the south slope. No evidence of slope
         movement or unstable active conditions or tension cracks was noted during the site visit. Only a
         few deep surface water erosion channels were noted extending from the top of the slope downhill
         in the area of the tanks pad (see Photos 20 through 24).

       - Five open (not backfilled) hand auger borings completed by Geosystems were noted on the south
         slope below the tanks pad. Depths to the bottom of the holes varied from 1 to 8 feet deep (HAB-
         5). Open boreholes in slopes can allow water to get into the subsurface and affect the stability of
         the slope, especially in slopes with a low factor of safety against slope failure Asphalt
         millings/waste was also noted on the surface of the slope from the bottom of the slope to the top
         of the slope showing the presence of some fill. This layer appears to have been placed as part
         of erosion protection when the disturbed slopes from previous mining operations were being
         restored (see Photos 25 through 38).

       - Geophysical Line P-1 stakes at the end of the line were noted near the top and toe of the slope
         in the same area as the hand auger borings, and a property line stake was also noted above from
         hand auger boring HAB-1; all hand auger borings were completed within Blount’s property (see
         Photos 39 through 45).

       City Water Main:

       - A watermain vault was noted at the top of the soil nail wall near the left end of the wall. This vault
         appeared to be the old vault present prior to the slope failure. The excavated old watermain
         section of pipe with the slope failure area was noted laying on the ground on the north side
         shoulder of the gravel driveway to the tanks. The excavated sections of pipes, pipe joints and
         elbows appear to be corroded in some areas. Close examination of photos taken during the site
         visit show some corrosion activity expected for a + 50-year-old pipe. A potential pipe crack was



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          also noted in one of the excavated pipes that appear to be associated with the pipe leak;
          unfortunately, Blount staff and/or RIO were not present when the pipes were excavated from the
          slide area to better examine the area of the pipe leak and/or separation of a pipe joint (see Photos
          46 through 54).

     Ponds No. 1, No. 2 and No.3:

       - During the site visit, the area of Ponds No. 1, No.2 and No.3 were also revisited with the City’s
         Insurance Counsel and their expert. Conditions appear to be the same as observed during the
         March 28, 2023 site visit (see Photos 55 through 64).

     Plant Equipment Storage Containers:

       - The slope failure sliding mass and discharge of 1.3 million gallons of water from the City tanks
         also impacted the Plants, equipment storage containers. Sediment and old water marks on the
         walls were noted inside the containers (se Photos 65 through 68).


     2.3 Site Topography and Historic Land Use

     RIO evaluated the topography of the south slope and compared the slope angles of the south slope
     left and right of the slide area within the pre-failure slide area. Both the 2015 topography obtained
     from the Forsyth County GIS Department and the drone and ground run survey (right and left sides
     of slide area) prepared by IronStone Surveying (5/23/2023 Plat) appear to be similar. The complete
     IronStone Surveying Boundary & Topographic Survey dated 5/23/2023 (field survey completed on
     5/8/2023) is included in Appendix C, the pre-failure 2015 GIS topography and the post-failure
     topographic survey topography are shown on Figures 2, with a cross section (Cross Section A-A’)
     across the slide area showing the pre- and post-failure ground surfaces shown in Figure 3. In general,
     the overall slope (crest to toe) was noted to be steeper (32 to 33 degrees, 1.5H:1V) on the left side
     (looking down from the top) of the slide area than the slope (25 degrees, 2H:1V) on the right side; the
     pre-failure overall slope of the slide area was similar to the slope right of the slide area based on the
     2015 GIS topography obtained from Forsythe County. The right slope south of the tanks pad and the
     pre-failure slope of the slide area had a couple of benches about 20 feet wide from about Elev. 1304
     to 1308 for the lower bench, and from about Elev. 1316 to 1324 for the upper bench. The total relief
     of the slope right of the slide area under the tanks pad is about 93 feet high, the slide area is about
     86 feet high, and the slope left of the slide area is about 68 feet.

     The upper slope of the slope south of the tanks pad, the slide area, and the slope left of the slide area
     were noted to have much steeper slopes than the lower portion of the slopes. The upper slope of the
     right slope and the slide area had slopes with an angle of 32o to 33o (1.5H:1V), and the upper slope
     of the slope left of the slide area was noted to have a much steeper slope angle at about 25o
     (1.1H:1V), this slope has exposed rock outcrops along the top of the slope near the crest (see Photos
     05 through 06 in Appendix B). The top of rock appears to be shallower on the slope left of the slide
     area than in the slide area and slope right of the slide area.

     Based on RIO’s field observations during the 5/08/2023 Site Visit, both the slope right of the slide
     area and the slope left of the slide area did not show signs of current instability, although the slope



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     below the tanks right of the slide area had been subject to historic localized instability (e.g., slide and
     scarp noted) that had been stabilized (prior to Blount purchasing the property) with a number of 8-
     inch diameter driven cast iron pipe piles located over the lower bench, and one driven steel beam pile
     located just below the upper bench (see Photos 20 through 24 in Appendix B). Some surface water
     deep erosion channels were also noted on the west slope below the tanks area. A sliver (about 12
     inches thick) of asphalt millings/waste was observed on the slope right of the slide from the crest of
     the slope to the toe of the slope, the same material was also noted over the slope failure sliding mass,
     appearing to have been placed over the final slope for erosion protection as part of slope surface
     stabilization after ground disturbance in the area had stopped prior to Blount acquired the property in
     or about 1984 (based on online review of property ownership tax map records).

     Review of aerial imagery provided in the EDR Reports included in the GeoSystems April 5, 2023
     Report shows that there was mining activity as early as 1964 in the property now owned by Blount.
     Based on available aerial imagery the City water tanks had been constructed by 1981 and as early
     as 1972 (aerial imagery not clear). Blount acquired the property in or about 1984 (based on online
     review of property ownership task map information) from a previous asphalt plant operator (per
     account by Blount’s Operations Manager during the site visit on March 28, 2023). Land
     use/disturbance along the slope south of the tanks pad stopped prior to 1981 (vegetation coverage
     shown on 1981 EDR Imagery), and potentially as early as 1974. Potential ground disturbance activity
     along the south slope south of the tanks and slide area shown on 1988 EDR imagery appears to be
     the result of an overexposed aerial image. Google Earth imagery in 1992 shows that the south slope
     is already covered with vegetation; based on this review no ground disturbance/activity of the south
     slope has occurred for at least 30 years prior to the occurrence of the slope failure during the night of
     December 6, 2022. No issues of instability of the south slope have been reported during this period
     based on available records. The south slope below the tanks pad, slide area, and left of the slide area
     were covered to the crest of the slope with pine trees at least up to 12 inches in diameter.

     2.4 Water Main

     The old watermain that failed in the area of the slope failure was about 50 years old. Ductile Iron
     Pipe (DIP can last up to 100 years depending on site and maintenance conditions). DIP has specific
     failure modes and indicators that the pipe is nearing failure. Corrosion is the primary cause of failure
     for any metallic pipe material. DIP can fail due to internal or external corrosion, pipe movement from
     thermal variations, seismic shifts, or external loading reflected by joint leaks or pipe movement (e.g.,
     ground movement caused by tree roots near or around utility pipes). Loss of soil support and bedding
     can also result in leaks in DIP. Leaks can be identified through acoustic surveys, wet areas, or
     pressure variations. At the time of the preparation of this report there were no maintenance records
     available to review documenting any service/maintenance performed by the City on the pipe.

     Review of videos and photographic records obtained from City’s Counsel shows that a number of
     pine tree stumps were present immediately adjacent to the pipe in the area of the pipe leak, with tree
     roots going over and under the pipe; these pine tree stumps were up to about 12 inches in diameter
     and did not show much decay. Photos extracted from a video taken by City staff the day after the
     slope failure on December 7, 2023 when water was still discharging from the watermain joint
     leak/separation, and after the leak had stopped before the pipes were removed from the excavation
     area are shown on Figures 4 and 5. Pine trees typically decay within 3 to 5 years, and the trees noted
     on the photos appear to have been cut by the City within a year or two, possibly because City
     maintenance staff had concerns with the effect of the pine trees growing adjacent to the aging



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                                       Non-Circular - Short Term Condition – Soil
              Slide Area:                       Saturation - Undrained
               (Fig F-7)                            (With Cohesion)
                                                       Ru = 0.27                                          1.3 to 1.5                   >1.0
                                        (Max. Pore Water Pressure, ɥ = 474.55
                                              psf (up to 6.6 ft of water)
                                              Layers 1 and 2; C = 50 psf)
                                          Non-Circular – Short Term Seismic
              Slide Area:                              Condition,
               (Fig F-8)                            (With Cohesion)                                            1.0                 >1.24
                                               PGAM= 0.14g ; Ah= 0.07g
                                              Layers 1 and 2; C = 50 psf)


     GeoSystems slope stability analysis included in the April 5, 2023 Geotechnical Assessment Report
     was performed for a cross section along the right side of the slide area. The GeoSystems Slope
     Stability Model used only three (3) subsurface layers: fill, residual soils (one single strength), and
     partially weathered rock, with only friction angel (no cohesion). The RIO Model used five (5) different
     subsurface condition layers: fill, three different residual soil layers with different strengths, and PWR.
     The fill and upper residual soil layers used both friction angle and some low cohesion. Friction angles
     were similar for both models with the exception of the fill layer where GeoSystems used a much lower
     friction value (25o vs 32o) compared to the RIOs Model.

     Geosystems identified potential circular slip surfaces with factors of safety of less than one within the
     upper steep slope, and also for a non-circular sliding plane along the interface passing through the
     toe of the slope. Factors of safety of less than one means that the slope should have failed a long
     time ago, at least since 1985, which is not the case. The south slope has been subject to high rainfall
     events (up to 5.4 inches of rain in a day) and earthquake events of up to 4.4 magnitude since 1985
     with no indication of slope instability of the slide area. Pre-failure slide area factors of safety should
     have been at least 1.1 or higher, since no evidence of slope movement/instability (e.g., sloughs or
     tension cracks) has been reported for at least since 1984 when Blount purchased the property. Shear
     strength parameters used by Geosystems for the fill and residual soils do not reflect actual field
     conditions. Laboratory triaxial shear strength test results of a relatively undisturbed Shelby tube
     sample collected from a depth of 5 to 7 feet below the ground surface in boring B-6 in the undisturbed
     residual soil (silty fine to coarse sand with 35% fines (SM) show much higher strength values than
     those used by Geosystems in slope stability analysis (friction angle of 38.7 degrees and cohesion of
     0.73 psi (105 psf), vs the 25 degrees and no cohesion used for the fill, and 34 degrees with no
     cohesion used for the undisturbed residual soils.

     Unless an extreme external loading condition (e.g., excavation along the toe of the slope, surcharge
     at the crest of the slope, or earthquake load), or significant saturation of the soil mass above the slope
     slip surface (circular or non-circular slip surface) reducing the effective shear strength of the soils took
     place, the slope should have maintained a factor of safety of at least 1.1, which is considered to be
     the minimum factor of safety before tension cracks may start developing on a slope before they fail.
     The rainfall event that took place the night of the slope failure was 2.13 inches based on NCEA/NOAA
     Station CUMMING 2 N, GA US USC00092408 located 2.35 miles east of the site, and the maximum
     rainfall event the slope has been subject to in the past has been up to 5.4 inches. For the slope to
     fail the way it failed, the soil mas had to be overly saturated (e.g., by an on-going pipe water leak) by



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     the time the 2.13 inches of rain came on the site on December 6, 2022, the day of the slope failure.
     RIO analysis shows that for the most critical slip surface occurring in the upper part of the slope, an
     average porewater pressure ratio Ru of 0.07 would be required to bring the FOS to one; this would
     be a maximum pressure above the slip surface of about 92.29 psi, or about 1.48 ft of water. For the
     non-circular slip surface the Ru value would be 0.27, or about 475 psf of porewater pressure above
     the slip surface (up to 6.6 feet of water), which would require much longer time for a small leak to
     saturate the soil mass above the slip surface. The slope stability analysis supports the need for a
     sustained external source of water (e.g. watermain leak) to saturate the soil mass up to about 6.6
     feet above the slip surface to move a sliver of soil 8 to 10 feet thick down the hill as reflected in the
     post-failure topographic survey.


     3.0 SUMMARY OF RIO’S PRELIMINARY ENGINEERING EVALUATION
     RIO GeoEngineering, LLC (RIO) has completed a Preliminary Engineering Evaluation of the Blount
     Construction Company, Inc. (Blount) Asphalt Plant Slope Failure at the Cumming Plant located on
     911 Canton Highway, Cumming, Georgia in Forsyth County. The slope failure reportedly occurred
     sometime during the night of December 6, 2022. Approximately 1.3 million gallons of potable water
     were released overnight from two City of Cumming (City) water storage tanks reportedly 500,000-
     and 800,000-gallon capacity located at the top of the hill side on the adjacent property owned by the
     City of Cumming located at 921 Canton Highway.

     A summary of main observations and results of preliminary analysis by RIO are summarized below.

          •    The release of water from the tanks and slope failure impacted approximately 0.4 acres of
               pine tree forested land on the hill side, plant operations paved area and operations access,
               damaged an office trailer, flooded two equipment storage containers, impacted on-site access
               roads to Ponds No. 1, 2 and 3, and discharged washed sediment into Ponds No. 1, 2 and 3
               documented during RIO’s Site Visits on 3/28/2023 and 5/8/2023. As of 5/8/2023 (last site visit
               by Mr. Rafael Ospina with RIO), the plant normal operations were still shut down.

          •    Based on visual observations during the initial assessment, GeoSystems determined that
               there was no risk of slope failure extending towards the eastern most tank in the near future,
               and that even though there was some evidence of previous movement and instability of the
               south slope along the tanks pad, there were not “recent” signs of slope movement and tension
               cracks.

          •    Geosystems has performed periodic slope stability site inspections since the construction of
               the Soil Nail Wall at the top of the slide area and no issues of concern have been identified
               since their initial site visit after the construction of the wall on January 25, 2023 until the
               preparation of their submittal of their final Geotechnical Assessment Report dated April 5,
               2023.


          •    Both the slope to the right (looking down from the top) and left of the slide area do not show
               signs of current instability or ground movement (e.g. tension cracks, localized surface slopes.




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          •    The south slope right and left of the slide area as well as the slide area have not shown signs
               of instability for at least the last 30 years, since Blount acquired the property in 1984.

          •    The City’s Ductile Iron Pipe (DIP) watermain feeding the two water storage tanks on top of the
               hill adjacent to Blounts north property is about 50 years old. Maintenance records of the
               watermain were not available to review for the preparation of this Preliminary Slope Failure
               Assessment Report.

          •    Review of videos and photographs of the slope failure area around the watermain feeding the
               two tanks shows a number of pine tree stumps up to 12 inches in diameter. The pine tree
               stumps did not show significant decay and appeared to have been cut within the last year or
               two. Pine tree roots were noted to be growing over and under the pipe in the area of the pipe
               leak still discharging water the following day after the slope failure that occurred during the
               evening of December 6, 2022.

          •    The watermain was located within 10 feet from the property line below the crest of the slope
               within the area of the slope failure. The slope angle in the upper portion of the south slope
               was at about 1.5H:1V. Minimal soil cover (about 12 inches in thickness) was noted over the
               pipe section that failed, making it susceptible to ground freezing and damaging of the pipe. A
               Soil cover of at least 2.5 to 3 feet is generally recommended for pressure pipes.

          •    Slope stability analysis indicates that the south slope had factors of safety of at least 1.1 prior
               to the slope failure, with no indication of tension cracks and instability. Soils in the slide area
               had to be significantly saturated (up to 1.5 feet of water above the slip surface for the circular
               slip surface, and up to 6.6 feet of water above the non-circular slip surface passing through
               the toe of the slope). It appears the slide mass failed through the toe of the slope (from crest
               to toe), indicating a significant amount of water had to be leaking from the watermain prior to
               the slope failure. The 2.13 inches of rain on the day of the slope failure just contributed to the
               already saturated soil mas.

          •    Review of sections of the aging watermain pipe and joints exhumed from the excavation show
               potential external and internal corrosion, missing bolts at pipe joints, and a potential pipe crack
               associated with a pipe leak. The crack could have also been created when the pipe was
               removed. Blount staff or RIO were not present to examine the pipe before it was removed
               from the excavation.

          •    Review of historic daily rainfall data shows that the south slope area has been subject to up
               to 5.4 inches of rainfall since 1975, much higher than the 2,13 inches of rain on the day of the
               slope failure. At least 10 daily rainfall events have been at least 4 inches since 1975 up to the
               day of the slope failure. No signs of slope movement or development of tension cracks have
               been reported since 1984 when Blount purchased the property, over 30 years ago.

          •    It is RIO’s opinion that Blount Construction Company, Inc. should be fully compensated for
               the damage caused by the slope failure that took place the evening of December 6, 2022, and
               the restoration of the south slope as the pipe was aging and there was not proper maintenance
               on the pipe; including preventing pine trees growing immediately adjacent to the pipe, the pipe




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               showing external and internal corrosion, and bolts missing at pipe joints. It is my expert opinion
               that saturation of the slide area from a pipe leak caused the slope failure.


     4.0 REFERENCES

          •    “Soil Strength and Slope Stability”, by J. Michael Duncan, Stephen G. Wright and Thomas L.
               Brandon, Second Edition, Wiley, p.126, 127 and 183.

          •    Computer Model Slide2 Version 9.024 2D Limit Equilibrium Analysis for Slopes by
               Rocscience.




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                          APPENDIXES


                           Appendix A

            March 28, 2023 R. Ospina Site Visit Photos
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                        01 - 2023 03 28 Site Visit - IMG_E5719.




  02 - 2023 03 28 Site Visit - Slide Sediment Impacted Operations Area - IMG_E5727.
                                 RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        03 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5720.




        04 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5721.
                               RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




      05 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5722.




   06 - 2023 03 28 Site Visit - Slide & Slide Damaged Office Trailer - IMG_E5723.
                                 RIO GeoEngineering
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                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




07 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - Operations Access Blocked - IMG_E5728.




               08 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5769.
                                       RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        09 - 2023 03 28 Site Visit - Slide Damaged Office Trailer - IMG_E5771.




   10 - 2023 03 28 Site Visit - Slide Damaged Compressed Gas Tank - IMG_E5767.
                                 RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




           11 - 2023 03 28 Site Visit - Slide Area Looking Up - IMG_E5725.




   12 - 2023 03 28 Site Visit - Slide Area and City New Soil Nail Wall - IMG_E5726.
                                 RIO GeoEngineering
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                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




13 - 2023 03 28 Site Visit - Slide Debris on Pavement Area - Plant Operations Impacted - IMG_E5730.




14 - 2023 03 28 Site Visit - Slide Debris on Pavement Area - Plant Operations Impacted - IMG_E5731.

                                       RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




     15 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5732.




    16 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5729.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




  17 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5734.




   18 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 1 - IMG_E5733.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   19 - 2023 03 28 Site Visit - Pond No. 1 and No. 2 Separation Berm - IMG_E5735.




     20 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5736.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




  21 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5737.




    22 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 - IMG_E5738.
                                RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   23 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 IMG_E5739.




   24 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 IMG_E5740.
                               RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
  3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




25 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 & Outfall SW-02 - IMG_E5741.




26 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 2 & Outfall SW-02 - IMG_E5742.
                                    RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




27 - 2023 03 28 Site Visit - Ponds No. 1, 2 and 3 Access Driveway Repaired - IMG_E5766.




     28 - 2023 03 28 Site Visit - Pond No. 2 Outfall SW-02 Culvert IMG_E5743.

                                 RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




29 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5744.




30 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5745.
                                    RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
  3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




31 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5746.




32 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 IMG_E5747.
                                   RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




33 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5748.




     34 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 .
                                    RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




35 - 2023 03 28 Site Visit - Slide Sediment Discharge into Channel to Pond No. 3 - IMG_E5752.




36 - 2023 03 28 Site Visit - Slide Sediment Discharge into Channel to Pond No. 3 - IMG_E5753.
                                     RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
   3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




37 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5750.




 38 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3IMG_E5751.
                                    RIO GeoEngineering
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                   Blount Construction Cumming Asphalt Plant
  3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




39 - 2023 03 28 Site Visit - Slide Water Damaged Access Driveway to Pond No. 3 - IMG_E5754.




     40 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 - IMG_E5755.
                                    RIO GeoEngineering
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                      Blount Construction Cumming Asphalt Plant
     3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




41 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 & Spillway CMP Riser - IMG_E5756.




 42 - 2023 03 28 Site Visit - Pond No. 3 Spillway CMP Riser & Silt Fence Protection - IMG_E5757.
                                       RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   43 - 2023 03 28 Site Visit - Slide Sediment Impacted Pond No. 3 - IMG_E5758.




         44 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - IMG_E5759.
                                RIO GeoEngineering
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                     Blount Construction Cumming Asphalt Plant
    3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                45 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - IMG_E5760.




46 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - No Sediment from Slide Noted - IMG_E5761.
                                      RIO GeoEngineering
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                     Blount Construction Cumming Asphalt Plant
    3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




47 - 2023 03 28 Site Visit - Pond No. 3 Outfall SW-01 - No Sediment from Slide Noted - IMG_E5762.




           48 - 2023 03 28 Site Visit - Pond No. 3 Dam Crest Looking Left - IMG_E5763.
                                      RIO GeoEngineering
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                 Blount Construction Cumming Asphalt Plant
3/28/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   49 - 2023 03 28 Site Visit - Pond No. 3 Dam Crest Looking Left - IMG_E5764.




                                RIO GeoEngineering
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                           Appendix B

             May 8, 2023 R. Ospina Site Visit Photos
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                      01 - Failed Slope Area - IMG_E6366.




                      02 - Failed Slope Area - IMG_E6379.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




  03 - Failed Slope Area - Asphalt Millings/Waste on Slope Surface - IMG_E6380.




                   04 - Driveway to City Water Tanks - IMG_E6381.
                                RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




        05 - Slope Crest Left of Slide Area - Rock OutIcrops - MG_E6382.




       06 - Slope Crest Left of Slide Area - Rock Outcrops - IMG_E6383.
                               RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                  07 - Soil Nail Wall & Slide Area - IMG_E6389.




                  08 - Soil Nail Wall & Slide Area - IMG_E6390.
                              RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




               09 - Soil Nail Wall & Slide Area - IMG_E6401.




         10 - Driveway to City Water Tanks Looking Downhill - IMG_E6404.
                              RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




    11 - Soil Nail Wall & Slide Area - Water Main Vault in Background - IMG_E6405.




                    12 - Soil Nail Wall & Slide Area - IMG_E6406.
                                RIO GeoEngineering
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                  Blount Construction Cumming Asphalt Plant
  5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                        13 - Soil Nail Wall & Slide Area - IMG_E6407.




14 - Slide Area Looking Right - Asphalt Millings/Waste on Right Slope Surface - IMG_E6408.
                                    RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                     15 - Slide Area Looking Right - IMG_E6409.




 16 - Slide Area Looking Up - Asphalt Millings-Waste on Slope Surface - IMG_E6421.
                                RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                    17 - Slide Area Looking Up - IMG_E6422.




                    18 - Slide Area Looking Up - IMG_E6439.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                    19 - Slide area Looking Down - IMG_E6438.




       20 - Slope Right of Slide Area - Slope Stabilization CIP Piles - IMG_E6410.
                                RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 65 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   21 - Slope Right of Side Area - Slope Stabilization CIP Driven Piles - IMG_E6411.




   22 - Slope Right of Slide Area - Slope Stabilization DIP Driven Piles - IMG_E6412.
                                 RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




23 - Slope Right of Slide Area - Slope Stabilization 8" Dia. CIP Driven Piles - IMG_E6413.




 24 - Slope Right of Slide Area - Slope Stabilization 12" Driven Steel Beam - IMG_E6415.
                                   RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




25 - Hand Auger Boring HAB-5 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6417.




26 - Hand Auger Boring HAB-5 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6418.
                                   RIO GeoEngineering
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                  Blount Construction Cumming Asphalt Plant
  5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




27 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6419.




   28 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope - IMG_E6420.
                                   RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 69 of 149

                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




29 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6423.




30 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6424.
                                  RIO GeoEngineering
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                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




31 - Hand Auger Boring HAB-4 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6425.




  32 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6426.
                                    RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 71 of 149

                    Blount Construction Cumming Asphalt Plant
    5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




 33 - Hand Auger Borings Area - Asphalt Millings/Waste on Right Slope Surface - IMG_E6427.




34 - Hand Auger Boring HAB-3 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6428.
                                   RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 72 of 149

                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




35 - Hand Auger Boring HAB-3 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6429.




36 - Hand Auger Boring HAB-2 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6430.
                                   RIO GeoEngineering
        Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 73 of 149

                   Blount Construction Cumming Asphalt Plant
   5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




37 - Hand Auger Boring HAB-2 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6431.




38 - Hand Auger Boring HAB-1 (Open) on Right Slope by GeoSystems (2/03/2023) - IMG_E6432.
                                   RIO GeoEngineering
            Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 74 of 149

                       Blount Construction Cumming Asphalt Plant
       5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




39 - Up Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023 ) - IMG_E6433.




40 - Up Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023 ) - IMG_E6434.
                                        RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 75 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




          41 - Slide Area Right Slope - Property Line Stake - IMG_E6435.




42 - Slide Area Right Slope - Property Line Stake HAB Right Slope - IMG_E6436.
                                RIO GeoEngineering
             Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 76 of 149

                        Blount Construction Cumming Asphalt Plant
        5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




           43 - Slide Area Right Slope - Property Line Stake HAB Right Slope - IMG_E6437.




44 - Down Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023) - IMG_E6440.
                                         RIO GeoEngineering
             Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 77 of 149

                       Blount Construction Cumming Asphalt Plant
       5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




45 - Down Slope End of Seismic Line P1 on Right Slope by Collier Geophysisc (3/08/2023) - IMG_E6441.




                                 46 - City Water Main Vault - IMG_E6388.
                                        RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




                   47 - City Water Main Vault - IMG_E6394.




                   48 - City Water Main Vault - IMG_E6392.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             49 - City Water Main Leak Excavated Pipe - IMG_E6395.




            50 - City Water Main Leak Excavated Pipe - IMG _E6396.
                             RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 80 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             51 - City Water Main Leak Excavated Pipe - IMG_E6397.




            52 - City Water Main Leak Excavated Pipe - IMG_E6398.
                             RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 81 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




             53 - City Water Main Leak Excavated Pipe - IMG_E6399.




               54 - Water Main Leak Excavated Pipe - IMG_E6400.
                             RIO GeoEngineering
          Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 82 of 149

                     Blount Construction Cumming Asphalt Plant
     5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




55 - Ponds No. 1, 2, and 3 Access Driveway - Repaired Flood Damaged Road Surface - IMG_E6367.




         56 - Ponds No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6368.
                                    RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 83 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   57 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6369.




   58 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6370.
                             RIO GeoEngineering
    Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 84 of 149

                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




   59 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6371.




   60 - Pond No. 3 Access Driveway - Flood Damaged Road Surface - IMG_E6372.
                              RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




               61 - Pond No. 3 Access Driveway-Crest IMG_E6373.




              62 - Pond No. 3 Access Driveway-Crest - IMG_E6374.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




              63 - Pond No. 3 Access Driveway-Crest - IMG_E6375.




              64 - Pond No. 3 Access Driveway-Crest - IMG_E6376.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




            65 - Flooded Equipment Storage Containers - IMG_E6377.




            66 - Flooded Equipment Storage Containers - IMG_E6378.
                             RIO GeoEngineering
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                Blount Construction Cumming Asphalt Plant
5/8/2023 Site Visit Photos by Rafael Ospina - Project Number CABKA-23-GA




            67 - Flooded Equipment Storage Containers - IMG_E6442.




            68 - Flooded Equipment Storage Containers - IMG_E6443.
                             RIO GeoEngineering
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                           Appendix C

         May 8, 2023 Boundary and Topographic Survey
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                           Appendix D

                Record Review Select Site Photos
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         BLOUNT CONSTRUCTION CUMMING ASPHALT PLANT

                2021 and 2022 PRE-FAILURE PHOTOS
  Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 93 of 149

 Blount Construction Cumming Asphalt Plant Records Select Photos -
                   Project Number CABKA-23-GA




01 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0126 - By Blount Construction




 02 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0131 - By Blount Construction
                              RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




03 - 2021 03 12 Pre-Slope Failure Aerial Photo - DJI_0162 - By Blount Construction




04 - 2022 04 Pre-Slope Failure Aerial Photo - 202DJI_0277 - By Blount Construction
                               RIO GeoEngineering
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         BLOUNT CONSTRUCTION CUMMING ASPHALT PLANT

                2022 and 2023 POST-FAILURE PHOTOS
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




               01 - 2022 12 07 SM Video 1 - by City Staff.
                          RIO GeoEngineering
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




               02 - 2022 12 07 SM Video 1 - by City Staff.
                          RIO GeoEngineering
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                03 - 2022 12 07 SM Video 1 - by City Staff.
                           RIO GeoEngineering
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Blount Construction Cumming Asphalt Plant Records Select Photos -
                  Project Number CABKA-23-GA




                 04 - 2022 12 08 - 09 - by GeoSystems.




                 05 - 2022 12 08 - 09 - by GeoSystems.
                          RIO GeoEngineering
  Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 102 of 149

  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




                       06 - 2022 12 08 - 09 - by GeoSystems.




07 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                               RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




08 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




09 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




 10 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




11 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                 RIO GeoEngineering
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    Blount Construction Cumming Asphalt Plant Records Select Photos -
                      Project Number CABKA-23-GA




12 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




13 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight.
                                 RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




14 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




15 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




16 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




17 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




18 - 2023 Jan-Feb DJI_0013.MP4. - After Soil Nail Wall Construction City Drone Flight




19 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




20 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




21 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                 RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




22 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




23 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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   Blount Construction Cumming Asphalt Plant Records Select Photos -
                     Project Number CABKA-23-GA




24 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




25 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight
                                RIO GeoEngineering
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  Blount Construction Cumming Asphalt Plant Records Select Photos -
                    Project Number CABKA-23-GA




26 - 2023 Jan-Feb DJI_0013.MP4 - After Soil Nail Wall Construction City Drone Flight




                               RIO GeoEngineering
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                            Appendix E

                 1975 – 2023 Historic Rainfall Data
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                                                   Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 115 of 149
U.S. Department of Commerce                                                                                                                                                       National Centers for Environmental Information
                                                                                                 Record of Climatological
National Oceanic & Atmospheric Administration                                                                                                                                                                 151 Patton Avenue
                                                                                                      Observations
National Environmental Satellite, Data, and Information Service                             These data are quality controlled and may not                                                       Asheville, North Carolina 28801

Current Location: Elev: 1140 ft. Lat: 34.2286° N Lon: -84.1281° W                             be identical to the original observations.
                                                                                                      Generated on 05/18/2023
Station: CUMMING 2 N, GA US USC00092408                                                                                                                Observation Time Temperature: 0730 Observation Time Precipitation: 0730
                                            Temperature (F)                                  Precipitation                            Evaporation                               "Soil Temperature (F)"
                                    "24 Hrs. Ending at                          24 Hour Amounts Ending at            At Obs.                                      4 in. Depth                            8 in. Depth
    Y          M                    Observation Time"                               Observation Time                  Time
    e          o           D                                                                                                      24 Hour
               n           a                                                                                        Snow, Ice
    a                                                           At           Rain,      F                    F       Pellets,      Wind   Amount of
    r          t           y                                   Obs.                            Snow, Ice                         Movement Evap. (in)    Ground                               Ground
               h                     Max.          Min.                     Melted      l       Pellets,     l       Hail, Ice                           Cover       Max.          Min.       Cover         Max.        Min.
                                                                           Snow, Etc.   a                    a          on          (mi)
                                                                              (in)      g       Hail (in)    g       Ground                             (see *)                              (see *)
                                                                                                                       (in)
     2022          12          01           61            28          33         0.00                 0.0                  0.0
     2022          12          02           55            31          40         0.00                 0.0                  0.0
     2022          12          03           56            31          52         0.00                 0.0                  0.0
     2022          12          04           59            40          43         0.16                 0.0                  0.0
     2022          12          05           58            43          46         0.00                 0.0                  0.0
     2022          12          06           58            46          47         2.13                 0.0                  0.0
     2022          12          07           58            43          53         0.11                 0.0                  0.0
     2022          12          08           67            53          63         0.00                 0.0                  0.0
     2022          12          09           71            61          62         0.10                 0.0                  0.0
     2022          12          10           63            50          50         0.62                 0.0                  0.0
     2022          12          11           64            48          53         0.00                 0.0                  0.0
     2022          12          12           63            49          51         0.30                 0.0                  0.0
     2022          12          13           51            44          49         0.00                 0.0                  0.0
     2022          12          14           49            42          42         0.00                 0.0                  0.0
     2022          12          15           46            41          46         2.03                 0.0                  0.0
     2022          12          16           53            35          35         0.00                 0.0                  0.0
     2022          12          17           48            35          42         0.00                 0.0                  0.0
     2022          12          18           45            30          34         0.00                 0.0                  0.0
     2022          12          19           43            24          26         0.00                 0.0                  0.0
     2022          12          20           48            26          40         0.00                 0.0                  0.0
     2022          12          21           45            23          31         0.00                 0.0                  0.0
     2022          12          22           41            24          26         0.00                 0.0                  0.0
     2022          12          23           41            13          13         0.17                 0.0                  0.0
     2022          12          24           41             4           7         0.00                 0.0                  0.0
     2022          12          25           23             7          19         0.00                 0.0                  0.0
     2022          12          26           33            19          26         0.00                 0.0                  0.0
     2022          12          27           50            26          41         0.00                 0.0                  0.0
     2022          12          28           55            26          37         0.00                 0.0                  0.0
     2022          12          29           54            34          53         0.00                 0.0                  0.0
     2022          12          30           63            35          49         0.00                 0.0                  0.0
     2022          12          31           64            38          51         0.00                 0.0                  0.0
                        Summary             52            34                     5.62                 0.0
Empty, or blank, cells indicate that a data observation was not reported.
*Ground Cover: 1=Grass; 2=Fallow; 3=Bare Ground; 4=Brome grass; 5=Sod; 6=Straw mulch; 7=Grass muck; 8=Bare muck; 0=Unknown
"s" This data value failed one of NCEI's quality control tests.      "At Obs." = Temperature at time of observation
"T" values in the Precipitation or Snow category above indicate a "trace" value was recorded.
"A" values in the Precipitation Flag or the Snow Flag column indicate a multiday total, accumulated since last measurement, is being used.
Data value inconsistency may be present due to rounding calculations during the conversion process from SI metric units to standard imperial units.
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May 2023                                                                             CABKA‐23‐GA‐1045‐01


           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                  2/3/1982          5.4                0
                                  7/9/2022          5.4                0
                                 9/17/2004         5.22                0
                                 6/24/1980         5.06                0
                                 3/17/1990           5                 0
                                 3/30/1977         4.67                0
                                 9/22/2009         4.45                0
                                 10/9/1977         4.25                0
                                 12/6/1983          4.2                0
                                 9/25/1997          4.2                0
                                12/28/2018           4
                                11/11/2009         3.87                0
                                11/16/2006         3.84                0
                                 9/21/2021         3.76                0
                                 7/31/2001         3.72                0
                                  3/6/2003          3.7                0
                                 7/24/1997         3.67                0
                                 10/5/1995         3.65                0
                                  1/6/2009         3.65                0
                                 9/17/2020         3.65                0
                                  7/2/2003          3.5                0
                                  1/4/2023          3.5                0
                                 9/12/1988          3.4                0
                                 4/13/1979         3.37                0
                                 1/12/1993         3.37                0
                                  8/8/2005         3.37                0
                                 3/16/1976         3.32                0
                                  4/7/2014          3.3
                                10/16/2002         3.25                0
                                  7/7/2005         3.25                0
                                 10/2/2012         3.25
                                10/11/1999         3.23                0
                                 5/27/1981         3.21                0
                                10/26/1997         3.21                0
                                11/19/2003         3.21                0
                                  5/5/2013         3.21
                                 5/19/2013          3.2
                                  4/9/1998         3.19                0
                                11/13/2018         3.17
                                  7/3/2015         3.11
                                 7/11/2005         3.06                0
                                 4/19/2019         3.05                0
                                12/17/1992         3.04                0
                                 10/1/1989         3.02                0
                                11/22/1991         2.99                0
                                 8/20/1998         2.94                0
                                 8/27/1995         2.91                0
                                 10/4/1995         2.91                0


                                             RIO GeoEngineering
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May 2023                                                                             CABKA‐23‐GA‐1045‐01


           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                 8/26/2008         2.89                0
                                 9/23/2003         2.87                0
                                 4/16/2011         2.86
                                 8/23/2015         2.86
                                  3/6/1983         2.83                0
                                 9/22/1989         2.81                0
                                 2/26/1992         2.81                0
                                  3/7/1996         2.81                0
                                 10/4/2015         2.81                0
                                 7/23/1988          2.8                0
                                 8/21/2010          2.8                0
                                10/11/2018         2.75
                                 2/11/1981         2.74                0
                                  3/8/1998         2.72                0
                                  4/4/1998         2.71                0
                                 3/13/1976          2.7                0
                                  8/5/1978          2.7                0
                                 4/23/2018          2.7                0
                                10/26/1977         2.68                0
                                 8/19/2013         2.61
                                 4/28/1997         2.58                0
                                 4/12/1988         2.52                0
                                 3/25/1994         2.52                0
                                 11/6/1977          2.5                0
                                 2/13/2014          2.5               2.5
                                  5/2/2017          2.5                0
                                 10/2/1989         2.49                0
                                10/30/1993         2.49                0
                                 9/12/2017         2.48                0
                                 11/5/1977         2.46                0
                                 8/17/1994         2.46                0
                                 3/10/2011         2.45
                                  3/6/1996         2.43                0
                                 1/20/2002         2.42                0
                                 11/2/2015         2.41
                                  9/7/2004          2.4
                                12/11/2008         2.38                0
                                 9/21/2002         2.37                0
                                 8/30/2005         2.36                0
                                 1/21/1979         2.35                0
                                  9/4/2001         2.35
                                 12/5/2002         2.35                0
                                 1/19/1987         2.34                0
                                 7/16/1978         2.33                0
                                 5/15/1976         2.32                0
                                 3/21/1980         2.32                0
                                 8/14/2005         2.32                0
                                  6/9/1996          2.3                0


                                             RIO GeoEngineering
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           1975 - 2023 Historic High Rainfall Data Above 12/06/2022 Rainfall Event (2.13 Inches)
                    NCEI (NOAA) Station: CUMMING 2 N, GA US USC00092408

                                                Rainfall             Snow
                                Date          Precipitation       Pecipitation
                                                (inches)           (inches)
                                 7/11/2003          2.3                0
                                11/19/2015          2.3
                                 2/21/2019          2.3                0
                                  2/4/2022          2.3                0
                                 3/21/2006         2.29                0
                                10/10/1986         2.28                0
                                  9/8/2004         2.28                0
                                10/12/2009         2.28                0
                                 1/10/1977         2.25                0
                                11/27/1993         2.25                0
                                10/28/2009         2.25                0
                                  6/1/2014         2.25
                                 1/25/1990         2.24                0
                                  2/4/1998         2.22                0
                                 2/11/2020         2.22                0
                                 9/29/1980         2.21                0
                                11/24/1983         2.21                0
                                12/12/1983         2.21                0
                                  3/4/1979          2.2                0
                                12/24/2015          2.2
                                 2/25/2016          2.2
                                  9/3/2016          2.2
                                 12/9/2018          2.2
                                 9/30/1998         2.17                0
                                 8/27/2008         2.17                0
                                12/12/1982         2.16                0
                                11/16/2002         2.16                0
                                 1/31/2013         2.16
                                 5/29/1976         2.15                0
                                  3/3/2012         2.15
                                 12/6/2022         2.13                0




                                             RIO GeoEngineering
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                            Appendix F

                      Slope Stability Analysis
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                Case 1:23-mi-99999-UNA Document 2545-8 Filed 08/09/23 Page 132 of 149
                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-1
                       FORSYTH COUNTY, GEORGIA
                                                                                                                NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                        ELEVATION (feet): 1388
                                                                                                                the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/29/2022                             BORING DEPTH (feet): 15                                    water measured at the end of day (NGWM).
                                                     WATER
DRILLER: KILMAN BROS., INC.                          LEVEL      TOB (feet): NGWE         24HR (feet): NGWM
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                 STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                      N VALUE
DEPTH




                                                                                                                            (blows/ft)
(feet)




                                                                                            (feet)
                                                                                             ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                  2   3 4 56      10    20 30 40 60 80
   0               POSSIBLE FILL: Loose tan brown silty fine to coarse SAND (SM), rock        1388
                   fragments, moist
                                                                                                        7
                   RESIDUUM: Medium dense tan pinkish brown silty fine to medium
                   SAND (SM)
   5                                                                                          1383    27



                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white slightly                50/2"
                   micaceous silty fine to coarse SAND (SM), rock fragments

  10                                                                                          1378   50/4"




  15                                                                                          1373   50/1"
                   Boring terminated at 15 feet.




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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                       FORSYTH COUNTY, GEORGIA
                                                                                                               NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                         ELEVATION (feet): 1389
                                                                                                               the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                              BORING DEPTH (feet): 48                                  water measured at the end of day (NGWM).
                                                      WATER
                                                                                                               3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                           LEVEL      TOB (feet): NGWE            24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                                      STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                            N VALUE
DEPTH




                                                                                                                                 (blows/ft)
(feet)




                                                                                                 (feet)
                                                                                                  ELEV
           LOG




                                           GEOLOGIC DESCRIPTION
                                                                                                                       2   3 4 56   10     20 30 40 60 80
   0               POSSIBLE FILL: Loose red brown silty fine to coarse SAND (SM), rock             1389
                   fragments, moist
                                                                                                              8
                   RESIDUUM: Stiff tan pinkish brown sandy SILT (ML), moist

   5                                                                                               1384     12
                   Medium dense silty fine to coarse SAND (SM)

                   Undisturbed sample (Shelby Tube) 5' to 7'
                                                                                                            16
                   Medium dense tan white slightly micaceous silty fine to medium SAND
                   (SM)
  10                                                                                               1379     23




                   Dense white tan fine to coarse SAND (SW)

  15                                                                                               1374     42




                   Dense pinkish white slightly silty fine to coarse SAND (SW), rock
                   fragments
  20                                                                                               1369     44




                   Medium dense white pinkish tan silty fine to coarse SAND (SM)

  25                                                                                               1364     17




                   Dense tan brown slightly micaceous silty fine to coarse SAND (SM), rock
                   fragments
  30                                                                                               1359     34




  35                                                                                               1354     48




                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                                                                                                           50/3"
                   fine to coarse SAND (SM), rock fragments
  40                                                                                               1349

GEOSYSTEMS ENGINEERING, INC.                                                                                                                   JOB NO. 22-2875
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                       CITY OF CUMMING, GEORGIA
               HIGHWAY 20 SAWNEE TANK SITE SLOPE FAILURE             LOG OF BORING B-6
                       FORSYTH COUNTY, GEORGIA
                                                                                                       NOTES: 1. No groundwater encountered at
GEOLOGIST: NA                                           ELEVATION (feet): 1389
                                                                                                       the time of drilling (NGWE). 2. No ground
DATE DRILLED: 12/28/2022                                BORING DEPTH (feet): 48                        water measured at the end of day (NGWM).
                                                        WATER
                                                                                                       3. Undisturbed sample collected from offset
DRILLER: KILMAN BROS., INC.                             LEVEL     TOB (feet): NGWE   24HR (feet): NGWM auger boring 3 feet north of B-6.
DRILLING METHOD: HOLLOW STEM AUGER WTIH AUTOMATIC HAMMER
                                                                                                              STANDARD PENETRATION RESISTANCE
         GRAPHIC




                                                                                                    N VALUE
DEPTH




                                                                                                                         (blows/ft)
(feet)




                                                                                         (feet)
                                                                                          ELEV
           LOG




                                               GEOLOGIC DESCRIPTION
                                                                                                               2   3 4 56   10     20 30 40 60 80
                   PARTIALLY WEATHERED ROCK: Sampled as very dense tan white silty
                   fine to coarse SAND (SM), rock fragments



  45                                                                                       1344    50/5"




                   Auger refusal at 48 feet.




GEOSYSTEMS ENGINEERING, INC.                                                                                                           JOB NO. 22-2875
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May 2023                                                                  Blount Construction Cumming Asphalt Plant Slope Failure Evaluation                                                                 CABKA‐23‐GA‐1045‐01
                                                                                                  Cumming, GA



  BORING =             B‐1       GW Elev. (ft‐msl) = 1372.0 (< 1373.0)                                            GW Depth (ft) = 16                       (> 15 ft)
                                  GS Elev. (ft‐msl)= 1388.0                                         SPT Hammer Energy Rating (%)= 83                       Automatic ‐ CME‐550X (Kilman Bros)


                                                                                    SPT      ɸ'                                                             SANDS
   Layer                                    SPT       SPT                                                 ɣt        ɣ'     Δσ'o              σ'o                        Vs
              Depth (ft)       SOIL
                                   1
                                                 1           Cn         SPT        N1_60 (Median)                                                             ɸ'
    No.                                  N Value      N60                                               (pcf)     (pcf)    (psf)                                       (ft/s)
                                                                    N1_60 Value    Value   (Peck)                                                           (Peck)
                                           (bpf)     Value                                                                                                                                            SPT N1‐60 Values
                                                                                  (Median)                                           (psf)         (psi)
                                                                                                                                                                                                  1     10      100   1000
                                                                                                                                                                                             0
    1       0      ‐     3      SM          7        10      1.50      15             15       32        115      115      86.25    86.25          0.6       32        567
    2       3      ‐     7      SM         27        37      1.50      56             56       42        130      130       345      431           3.0       42        817
                                                                                                                                                                                             10
    3       7      ‐     10     SM         300       415     1.45      602                               135      135       520      951           6.6       45        1565
    4       10     ‐     15     SM         150       208     1.21      252          602        45        135      135       405     1356           9.4       45        1298
    5       15     ‐     15     SM         600       830     0.99      824                               135      135       675     2031           14.1      45        1887                  20
                              BT @ 15'
                                                                                                                                                                                             30


                                                                                                                                                                                             40
                                                                                                                                                 Fill        32        567
                   FILL                                                                                                                        Residual      42        817                   50
                   ALLUVIUM                                                                                                                     PWR          45        1583
                   RESIDUUM                                                                                                                                                                  60




                                                                                                                                                                                Depth, ft
                   PWR
                                                                                                                                                                                             70
           BT ‐ Boring Terminated
           AR ‐ Auger Refusal                                                                                                                                                                80
           PWR ‐ Partially Weathered Rock
                                                                         0.27
           Vs ‐ Shear Wave Velocity (Imai & Tonouchi (1982) ‐ Vs= 93.7N60 in m/sec)                                                                                                          90


                                                                                                                                                                                            100
           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐ Geotechnical Assesment Report dated April 5, 2023, Geosystems                                110
              Project No. 22‐2875.
                                                                                                                                                                                            120


                                                                                                                                                                                            130




                                                                                                 RIO GeoEngineering
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May 2023                                                                  Blount Construction Cumming Asphalt Plant Slope Failure Evaluation                                                                 CABKA‐23‐GA‐1045‐01
                                                                                                   Cumming, GA



  BORING =             B‐6       GW Elev. (ft‐msl) = 1339.0 (< 1340.0)                                            GW Depth (ft) = 49                       (> 48 ft)
                                  GS Elev. (ft‐msl)= 1388.0                                         SPT Hammer Energy Rating (%)= 83                       Automatic ‐ CME‐550X (Kilman Bros)


                                                                                   SPT      ɸ'                                                              SANDS
   Layer                                    SPT      SPT                                                  ɣt        ɣ'     Δσ'o              σ'o                        Vs
              Depth (ft)       SOIL
                                   1
                                                            Cn         SPT        N1_60 (Median)                                                              ɸ'
    No.                                  N Value1    N60                                                (pcf)     (pcf)    (psf)                                       (ft/s)
                                                                   N1_60 Value    Value   (Peck)                                                            (Peck)
                                           (bpf)    Value                                                                                                                                             SPT N1‐60 Values
                                                                                 (Median)                                            (psf)         (psi)
                                                                                                                                                                                                  1     10      100   1000
                                                                                                                                                                                             0
    1       0      ‐     3      SM          8       11      1.50       17             17       33        115      115      86.25    86.25          0.6       33        588
    2       3      ‐     8      ML         12       17      1.50       25             25       28        120      120       345      431           3.0       35        656
                                                                                                                                                                                             10
    3       8      ‐     13     SM         23       32      1.39       44                                126      126       600     1031           7.2       40        782
    4       13     ‐     18     SW         42       58      1.10       64             57       42        130      130       630     1661           11.5      44        920
    5       18     ‐     23     SW         44       61      0.93       57                                130      130       650     2311           16.1      42        932                   20
    6       23     ‐     28     SM         17       24      0.82       19                                116      116       650     2961           20.6      33        721
                                                                                      27       36                                                                                            30
    7       28     ‐     33     SM         34       47      0.75       35                                122      122       580     3541           24.6      38        869
    8       33     ‐     38     SM         48       66      0.69       46             46       40        126      126       610     4151           28.8      40        954
    9       38     ‐     43     SM         200      277     0.65       179                               135      135       630     4781           33.2      45        1403                  40
    10      43     ‐     48     SM         120      166     0.61       101          179        45        130      130       675     5456           37.9      45        1222
    11      48     ‐     48     SM         600      830     0.57       475                               135      135       650     6106           42.4      45        1887                  50
                              AR @ 48'
                                                                                                                                                                                             60




                                                                                                                                                                                Depth, ft
                                                                                                                                                                                             70
                                                                                                                                                 Fill         33       588
                   FILL                                                                                                                        Residual       40       863                   80
                   ALLUVIUM                                                                                                                     PWR           45       1504
                   RESIDUUM                                                                                                                                                                  90
                   PWR
                                                                                                                                                                                            100
           BT ‐ Boring Terminated
           AR ‐ Auger Refusal
                                                                                                                                                                                            110
           PWR ‐ Partially Weathered Rock
                                                                         0.27
           Vs ‐ Shear Wave Velocity (Imai & Tonouchi (1982) ‐ Vs= 93.7N60 in m/sec)
                                                                                                                                                                                            120


                                                                                                                                                                                            130
           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐ Geotechnical Assesment Report dated April 5, 2023, Geosystems
              Project No. 22‐2875.




                                                                                                 RIO GeoEngineering
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May 2023                                                                                 CABKA‐23‐GA‐1045‐01
                                               Seismic Site Class
                                  Blount Construction Cumming Asphalt Plant
                                                 Cumming, Ga


                                              N‐Values (N60)
              Depth     B‐1                                                     Average N‐Value    di/Ni
            0 to 3      10                                                             10          0.30
            3 to 8      37                                                             37          0.14
            8 to 13     100                                                           100          0.05
            13 to 18    100                                                           100          0.05
            18 to 23    100                                                           100          0.05
            23 to 28    100                                                           100          0.05
            28 to 33    100                                                           100          0.05
            33 to 38    100                                                           100          0.05
            38 to 43    100                                                           100          0.05
            43 to 48    100                                                           100          0.05
            48 to 53    100                                                           100          0.05
            53 to 58    100                                                           100          0.05
            58 to 63    100                                                           100          0.05
            63 to 68    100                                                           100          0.05
            68 to 73    100                                                           100          0.05
            73 to 78    100                                                           100          0.05
            78 to 83    100                                                           100          0.05
            83 to 88    100                                                           100          0.05
            88 to 93    100                                                           100          0.05
            93 to 98    100                                                           100          0.05
            98 to 100   100                                                           100          0.02
           100 to 100   100                                                           100          0.00
                to                                                       100          100          0.00
                to                                                       100          100          0.00

                                                                               Sum of(di/Ni)        1.4
                                                                               N‐bar =             73.8
                                                                               Site Class =          C



           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐
           Geotechnical Assesment Report dated April 5, 2023, Geosystems, Project No. 22‐2875.




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May 2023                                                                                 CABKA‐23‐GA‐1045‐01
                                               Seismic Site Class
                                  Blount Construction Cumming Asphalt Plant
                                                 Cumming, Ga


                                              N‐Values (N60)
              Depth     B‐6                                                     Average N‐Value    di/Ni
            0 to 3      11                                                             11          0.27
            3 to 8      17                                                             17          0.29
            8 to 13     32                                                             32          0.16
            13 to 18    58                                                             58          0.09
            18 to 23    61                                                             61          0.08
            23 to 28    24                                                             24          0.21
            28 to 33    47                                                             47          0.11
            33 to 38    66                                                             66          0.08
            38 to 43    100                                                           100          0.05
            43 to 48    100                                                           100          0.05
            48 to 53    100                                                           100          0.05
            53 to 58    100                                                           100          0.05
            58 to 63    100                                                           100          0.05
            63 to 68    100                                                           100          0.05
            68 to 73    100                                                           100          0.05
            73 to 78    100                                                           100          0.05
            78 to 83    100                                                           100          0.05
            83 to 88    100                                                           100          0.05
            88 to 93    100                                                           100          0.05
            93 to 98    100                                                           100          0.05
            98 to 100   100                                                           100          0.02
           100 to 100   100                                                           100          0.00
                to                                                       100          100          0.00
                to                                                       100          100          0.00

                                                                               Sum of(di/Ni)        1.9
                                                                               N‐bar =             52.6
                                                                               Site Class =          C



           NOTES:
           1) SPT N value data obtained from SPT Boring Logs by Geosystems Engineering, Inc. ‐
           Geotechnical Assesment Report dated April 5, 2023, Geosystems, Project No. 22‐2875.




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Seismic                               C - Very Dense Soil and Soft Rock



Site Soil Class:
Results:

       PGA M :                        0.14                  TL :                 12
       S MS :                         0.29                  SS :                 0.28
       S M1 :                         0.13                  S1 :                 0.098
       S DS :                         0.19                  V S30   :            530
       S D1 :                         0.085


Seismic Design Category: B



                     Multi-Period MCER Spectrum                              Multi-Period Design Spectrum




                     Sa (g) vs T(s)                                          Sa (g) vs T(s)




                     Two-Period MCE R Spectrum                               Two-Period Design Spectrum




                     Sa (g) vs T(s)                                          Sa (g) vs T(s)




                 MCER Vertical Response Spectrum                               Design Vertical Response Spectrum
Vertical ground motion data has not yet been made             Vertical ground motion data has not yet been made
available by USGS.                                            available by USGS.



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Data Accessed:                  Wed May 24 2023
Date Source:
USGS Seismic Design Maps based on ASCE/SEI 7-22 and ASCE/SEI 7-22 Table 1.5-2. Additional data for
site-specific ground motion procedures in accordance with ASCE/SEI 7-22 Ch. 21 are available from USGS.




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